                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:12-00013
                                             )        JUDGE CAMPBELL
NICKLESS WHITSON, et al.                     )


                                            ORDER


      Pending before the Court is Defendant Nickless Whitson’s Motion to Extend Pre-Trial

Motion Deadline (Docket No. 418). The Motion is GRANTED.

      The deadline for filing pretrial motions is extended to June 3, 2013, for all parties.

      IT IS SO ORDERED.



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                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00013      Document 419            Filed 05/28/13   Page 1 of 1 PageID #: 1282
